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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


BAHIA AMAWI, et al.,                            Case No. 1:18-cv-01091-RP
                                                Case No. 1:18-cv-01100-RP
             Plaintiffs,

      vs.

PFLUGERVILLE INDEPENDENT SCHOOL
DISTRICT; et al.

             Defendants.


        BAHIA AMAWI’S MOTION FOR PERMANENT INJUNCTION

      Plaintiff Bahia Amawi asks this Court to issue a permanent injunction against

the Attorney General under the Court’s plenary authority, see Standard Oil Co. of

Tex. v. Lopeno Gas Co., 240 F.2d 504, 510 (5th Cir. 1957), or, in the alternative, under

Rule 56 of the Federal Rules of Civil Procedure. A proposed order is attached.

      The Court has already granted a preliminary injunction. Dkt. 82. The

comprehensive, 56-page Order (Dkt. 82) held that Texas’s Anti-BDS law was

unconstitutional. In its decision, the Court found that, as a matter of law, NAACP v.

Claiborne Hardware Co., 458 U.S. 886 (1982), and not Rumsfeld v. FAIR, 547 U.S. 47

(2006), governed this case. Dkt. 82 at 23-26. It found that, as a law punishing

protected speech, the Anti BDS law could only be upheld if narrowly tailored to serve

a compelling state interest. Id. at 26-32. The Court held that the Anti-BDS Law

neither served a compelling state interest nor was narrowly tailored, and thus was

unconstitutional. Id. at 32-36 and 36-37.


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The Court then separately found the Anti-BDS Law acted as an unconstitutional

condition for a government contract, id. at 38-40, as unconstitutional compelled

speech, id. at 40-43, and as an unconstitutionally vague law, id. at 43-46.

      The Court also found that Amawi has “suffered [irreparable] harm by the

enforcement of” the Anti-BDS Law “and will continue to suffer harm unless it is

enjoined.” Id. at 46-47. The Court further found the balance of equities “weighs in

favor of injunctive relief.” Id. at 48. And the Court found that the public interest also

“weighs in favor” of an injunction.      Id.       “In sum, the Court finds that all four

preliminary injunction factors weigh in Plaintiffs’ favor.” Id.

      At no point in the Court’s decision did it discuss or resolve any factual dispute.

Rather, it relied on applicable First Amendment principles, the Anti-BDS Law itself,

whose meaning is a question of law, Kemp v. G.D. Searle & Co., 103 F.3d 405, 407

(5th Cir. 1997)), and undisputed facts, see Dkt. 82 at 3, 15, 24, 50, and 51. And, at the

March 29 hearing on the Preliminary Injunction all parties other than Klein and

Lewisville ISD—who are not parties to Amawi’s Complaint—agreed that there are

no contested issues of fact that are of any moment to the issues that are before the

Court.” Dkt. 81, Tr. 5:23-24, 6:1-3, 6:15-17, 6:24-25, 7:12-15. Indeed, counsel for

Defendants declined to cross examine Bahia Amawi even though the Court gave them

the opportunity to do so.

      The only “difference between the standard for a permanent injunction and the

standard for a preliminary injunction is that in the former the court determines the

plaintiff’s success on the merits rather than the plaintiff’s likelihood of success on the



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merits.” Moore v. City of Van, Texas, 238 F. Supp. 2d 837, 852 (E.D. Tex. 2003)

(citation omitted); Jabr v. Rapides Par. Sch. Bd. ex rel. Metoyer, 171 F. Supp. 2d 653,

666 (W.D. La. 2001) (similar). Thus, “the court may grant a permanent injunction

without a trial on the merits if there are no material issues of fact and the issues of

law have been correctly resolved.” Calmes v. United States, 926 F. Supp. 582, 591

(N.D. Tex. 1996) (citation omitted); see also Jabr, 171 F. Supp. 2d at 666 (permanent

injunction, rather than a preliminary one, was appropriate when judgment was on

the pleadings). Indeed, a court can even issue a permanent injunction sua sponte upon

application for a preliminary injunction. Standard Oil, 240 F.2d at 510; see also

Minnesota Dep’t of Econ. v. Riley, 107 F.3d 648, 649 (8th Cir.1997) (reviewing district

court grant of a preliminary injunction and granting a permanent injunction because

all issues were questions of law); Garcia-Rubiera v. Flores-Galarza, 516 F. Supp. 2d

180, 198 (D.P.R. 2007) (similar), rev’d in part on other grounds, 570 F.3d 443 (1st Cir.

2009); Clark v. Cohen, 613 F. Supp. 684, 690 (E.D. Pa. 1985), aff’d, 794 F.2d 79 (3d

Cir. 1986).

      Each of the Texas Anti BDS law’s infirmities described above and in the Court’s

prior Order, standing alone, is enough to justify a permanent injunction. And, as

noted above, the Court found each infirmity as a matter of law not conditioned on any

factual dispute. There is thus no distinction between Amawi being likely to succeed

on the merits and her succeeding on the merits as a matter of law. Moore v, 238 F.

Supp. 2d at 852; Jabr, 171 F. Supp. 2d at 666. The Court should convert the

Preliminary Injunction into a Permanent Injunction without further proceedings. See



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Howells v. City of New Orleans, 04-cv-1035, 2004 WL 1857666, at *6 (E.D. La. Aug.

17, 2004) (granting a preliminary injunction and informing the parties that it “will

issue a permanent injunction and final judgment within ten (10) days from entry of

this order unless, within that time frame, the City moves for a trial on the merits and

persuades the Court that factual disputes pertinent to the applicable legal framework

require resolution via trial.”) (emphasis original).

      Amawi incorporates by reference the Motions and Replies in support of a

Preliminary Injunction filed by her and by the Pluecker Plaintiffs, Dkts. 8, 39, 40, and

18-cv-1100 Dkt. 14, as well as the record at the Preliminary Injunction hearing, Dkts.

77 and 81. See Fed. R. Civ. P. 65(a)(2) (“Even when consolidation is not ordered,

evidence that is received on the motion and that would be admissible at trial becomes

part of the trial record and need not be repeated at trial.”).




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Dated: May 7, 2019                 JOHN T. FLOYD LAW FIRM


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